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15    ROGER WAYNE PARKER
16                          UNITED STATES DISTRICT COURT
17                        CENTRAL DISTRICT OF CALIFORNIA
18
      ROGER WAYNE PARKER,                              Case No:
19
              Plaintiff,
20                                                     Unlimited Civil Case
                  v.                                   COMPLAINT FOR VIOLATIONS
21
                                                       OF:
22    COUNTY OF RIVERSIDE; PAUL
      E. ZELLERBACH, individually and            1. 42 U.S.C. § 1983 – Malicious
23    in his official capacity as County of         Prosecution;
      Riverside District Attorney; SEAN          2. 42 U.S.C. § 1983 – Withholding
24                                                  Exculpatory Evidence;
      LAFFERTY, individually and in his          3. 42 U.S.C. § 1983 – Unconstitutional
25    official capacity; and TRICIA                 Official Policy, Practice, or Custom
      FRANSDAL, individually and in her             (Monell Claim);
26    official capacity; JEFF VAN                4. Declaratory and Injunctive Relief
27    WAGENEN, individually.
                                                       JURY TRIAL DEMANDED
28                Defendants.

                                                   1

                       Complaint for Violations of Civil and Constitutional Rights
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 1          Plaintiff, Roger Wayne Parker, submits the following complaint for
 2    violations of his Constitutional rights under 42 U.S.C. § 1983 and the laws of the
 3    State of California against Defendants Paul Zellerbach, Sean Lafferty, Jeff Van
 4    Wagenen, and Tricia Fransdal.
 5                                               I.
 6                                        Introduction
 7          For almost four years, the Riverside County District Attorney’s Office
 8    prosecuted Roger Wayne Parker for a murder that the District Attorney knew
 9    Parker did not commit. In fact, District Attorney Zellerbach and his supervisory
10    assistant district attorneys insisted on prosecuting Parker notwithstanding the
11    express recommendations of two different trial lawyers in the office, both of
12    whom repeatedly told their supervisors – both in face-to-face meetings and in
13    lengthy memoranda – to dismiss the case because Parker was innocent.
14          Zellerbach and his supervisory attorneys disregarded those
15    recommendations, as well as their ethical obligations, for a political purpose:
16    because Zellerbach believed that dismissing high-profile cases weakened him as a
17    political candidate. The Riverside Superior Court also refused to intercede –
18    again for an explicitly political purpose – when Riverside Superior Court Judge
19    Jack Ryan told Deputy D.A. Chris Ross that he would not dismiss the case
20    “because he wanted to get reelected.”
21          Unfortunately, this behavior is not an outlier for the Riverside County
22    D.A.’s Office, which has a decades-old practice of withholding exculpatory
23    evidence and refusing to dismiss cases against innocent defendants. Roger Wayne
24    Parker spent four years behind bars because of this callous and unethical practice.
25    He now seeks both monetary redress and meaningful reform.
26    //
27    //
28    //

                                                 2

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 1                                                 II.
 2                                       Statement of Facts
 3    A.     The Murder of Brandon Stevenson and the Riverside D.A.’s Conscious
 4           Decision to Prosecute an Innocent Man
 5
             On the night of March 18, 2010, Brandon Stevenson was murdered in the
 6
      Desert Hot Springs home of Willie Womack. Womack called the police and told
 7
      the investigating officers that he had found Stevenson – who had been brutally
 8
      stabbed and beaten – on the floor of Womack’s living room when he got home.
 9
             Womack’s roommate, Roger Parker, was not at home when the police
10
      arrived. Parker had been at a friend’s house watching television all day, returning
11
      only after a neighbor told him that the police were at his house. The homicide
12
      detectives initially focused their inquiry on Womack and Parker but were
13
      convinced after speaking with Womack that he was not the killer. They then
14
      homed in on Parker exclusively, detaining him and interrogating him for over 15
15
      hours --all the time encouraging him to admit that he had killed Stevenson in self-
16
      defense. Parker, who is developmentally delayed,1 denied killing Stevenson for
17
      several hours before ultimately confessing “very sarcastically” because “the
18
      detectives had told him [that] self-defense was legal and denial only landed him
19
      in jail.”2
20
      //
21
      //
22
      //
23
24
25
26
27    1
              According to records obtained through the County of Riverside School District, Parker
      has an IQ of 75-79 – significantly below the average person’s IQ, which is 100.
28    2
              July 22, 2011 Memorandum by Senior Deputy D.A. Lisa DiMaria to Assistant D.A. Sean
      Lafferty and Supervising Deputy D.A. Otis Sterling at 2 (Exhibit A).
                                                   3

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 1                   The first prosecutor assigned to the case, Deputy D.A. Lisa DiMaria,
 2    immediately recognized that Parker’s confession was a sham because it was both
 3    coerced and completely inconsistent with the physical evidence.3
 4           At a staff meeting in March 2010 (just a few days after the killing),
 5    DiMaria expressed her “serious concerns about [Parker’s] guilt.”4 Over a year
 6    later, DiMaria “received the results from the Department of Justice’s analysis of
 7    the physical evidence [(including some of the DNA evidence)] which []
 8    reinforced [DiMaria’s] concern for the actual guilt of the defendant.”5 On July 22,
 9    2011, DiMaria wrote a memorandum to her supervisors requesting authorization
10    to “no file” (i.e., dismiss) the case after the preliminary hearing because Parker
11    was very likely innocent.6
12           Rather than dismissing, however, supervisory Assistant D.A. Sean Lafferty
13    removed DiMaria from the case and reassigned it to Deputy D.A. Chris Ross,
14    telling Ross that DiMaria “expressly stated, ‘The man’s innocent. He did not do
15    it.’ And [that Di Maria] refused to prosecute the case.”7
16           According to Ross, Lafferty made it crystal clear that the case was being
17    reassigned to him because “Di Maria thought the man was innocent” but the D.A.
18    still wanted him prosecuted.8 Supervisory D.A. Tricia Fransdal (who would
19    ultimately dismiss the case against Parker three years later), as well as DiMaria
20    herself, also told Ross in separate conversations that the case was being
21
22    3
             Just one example of the myriad inconsistencies was Parker’s coached admission that he
23    had stabbed Stevenson in the head with a shard from a broken flower pot, which “ma[de]
      absolutely no sense. . . . The piece of pottery that the defendant says that he picked up and hit the
24    victim over the head with, had no blood, hair, or tissue on it. The pottery was jagged and frail,
      not able to inflict the type of injury to the victim’s head.” December 8, 2011 Memorandum by
25    Deputy D.A. Chris Ross at 8 (Exhibit C). The medical examiner later concluded that a kitchen
      knife was the cause of the lethal wound. December 9, 2014 deposition of Chris Ross in Ross v.
26    County of Riverside, et al., at 114 (Exhibit B).
      4
             Exhibit A at 1.
27    5
             Id.
      6
             Id.
28    7
             Exhibit B at 106.
      8
             Id. at 104.
                                                       4

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 1    reassigned to him because DiMaria believed that Parker was innocent.9 On
 2    November 30, 2011, DiMaria sent her case memorandum, via email, to Ross. In
 3    the body of the email she wrote in bold face: “I already gave you my caveat
 4    about this . . . .” which was a reference to DiMaria’s belief that Parker was
 5    innocent.10
 6          In late 2011, roughly six months after being assigned to the case, Ross told
 7    Lafferty several times that Parker was being held without probable cause and that
 8    there was no way that the case could be proven beyond a reasonable doubt:
 9                  We can’t prove the case. I agree with [DiMaria’s]
10                  assessment. We can’t prove it. [DiMaria] thinks the man
11                  is innocent. I’m not going to say he’s innocent. That’s
                    not my job. My job is to tell you whether or not I can
12                  prove at least beyond a reasonable doubt or [if we] even
13                  [have] probable cause to believe he committed the crime.
                    I don’t think we have either. . . . We need probable cause
14                  to hold him. We don’t have probable cause. The only
15                  way we can file the information is if we can prove
                    beyond a reasonable doubt or have a good faith belief
16
                    that we can prove the case beyond a reasonable doubt,
17                  and there is no way in my opinion that any jury could
18                  find this man guilty proven [sic] beyond a reasonable
                    doubt, so we’re going to have to dismiss the case.11
19
20          These conversations angered Lafferty, who became overtly hostile and
21    whose response to Ross telling him that he was holding an innocent man in jail
22    without legal cause was “Write me a memo.”12
23          Over the course of the next two-and-a-half years, Ross wrote several
24    memos to Lafferty, all of which recommended dismissing the case because there
25    was no probable cause to pursue it, much less sufficient evidence to prove it
26
27    9
            Id. at 106.
      10
            Di Maria email (Exhibit D) (emphasis in original).
28    11
            Exhibit B at 110-11.
      12
            Id. at 120.
                                                   5

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 1    beyond a reasonable doubt. In response, Lafferty required Ross to specifically
 2    identify the reasons that he believed Parker’s confession was both coerced and
 3    false:
 4                   And then he said, “Well you know, you make – made
 5                   comments in your memo about the interview. Why don’t
 6                   you go ahead and detail [for] me [the] specific statements
                     in the interview that you think were coerced or gave you
 7                   reason to believe that this guy wasn’t telling the truth[?]”
 8                   So then I had to sit down and I had to go through the
                     entire transcript for however long it was, hours of
 9                   testimony [sic], and I had to pick out the things that were
10                   inconsistent with the forensic evidence and detail a
                     memorandum on that.13
11
12             Notwithstanding these conversations and memoranda detailing the utter
13    absence of probable cause, Zellerbach, Lafferty, Van Wagenen, Fransdal,14 and
14    other supervisory assistant D.A.s refused to dismiss the case. All the while, Roger
15    Parker sat in jail, charged with a crime that he did not commit.
16             Accordingly, during a chambers conference before one of Parker’s
17    scheduled preliminary hearings,15 Ross raised his concerns about Parker’s guilt
18    with the assigned judicial officer, Riverside Superior Court Judge Jack Ryan.
19    Specifically, Ross suggested that Ryan could dismiss the case after conducting
20    the preliminary hearing. In response, Ryan told Ross that he would not dismiss
21    the case – regardless of the state of the evidence – because he wanted to get
22    reelected.
23
      13
24             Id. at 122-23.
      14
               At one point, as a direct result of Ross’s memos documenting the absence of probable
25    cause to hold Parker, Fransdal (a supervisor) told Ross that she had been assigned to the case but
      at the same time insisted that Ross would “retain the case and [] make appearances and [] handle
26    the case.” Id. at 139-40. After Ross obtained the jail calls in which Womack admitted that he was
      the killer, Fransdal told Ross, “Deal with Sean Lafferty . . . I want nothing to do with th[is] case.”
27    Id. at 141.
      15
               Parker’s case never made it to a preliminary hearing. The prelim was continued several
28    times over the course of the four years that the case was pending, before it was ultimately
      dismissed.
                                                        6

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 1          In September or October 2013, Ross obtained the recorded jail calls of
 2    Parker’s former roommate, Willie Womack, who had been in custody on another
 3    charge. Ross suspected that Womack had murdered Stevenson and he thought
 4    that Womack might have admitted to the crime in one of his calls. Ross was right
 5    on both counts: Womack explicitly admitted in those calls that he had killed
 6    Stevenson.
 7          Ross promptly informed Lafferty, who – instead of dismissing the case –
 8    ordered Ross not to disclose Womack’s jail calls to Parker’s lawyer.16
 9          Ross was in disbelief: “When another person says, ‘I killed this guy, ha, ha,
10    ha. I cut his head off, ha, ha, ha,’ you need to turn that over [to the defense].”17 At
11    the same time, Lafferty removed Ross from the case, telling him “Give me the
12    case. I’ll take care of it.”18 The D.A.’s office did not get around to dismissing the
13    complaint against Parker until March 6, 2014 – roughly six months later – when
14    Fransdal moved to dismiss without prejudice “due to insufficiency of the
15    evidence.”19 Parker was unaware of the existence of Womack’s recorded
16    confession until October 2020.
17
      B.    The Riverside County D.A.’s Pattern and Practice of Malicious
18          Prosecution and Withholding Exculpatory Evidence
19
20          The Riverside County D.A.’s office has a well-documented practice of
21    committing prosecutorial misconduct – including withholding exculpatory
22    evidence in high profile cases – which comes from the top down.
23    //
24    //
25    //
26
27    16
            Id.
      17
            Id. at 142.
28    18
            Id. at 141.
      19
            Exhibit E at 1 (transcript of March 6, 2014 hearing).
                                                    7

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 1           For example, in Baca v. Adams,20 a habeas corpus appeal of a double-
 2    murder conviction before a Ninth Circuit panel in 2015, the undisputed facts were
 3    that one Riverside Deputy D.A. presented the false testimony of another
 4    Riverside Deputy D.A. to bolster the credibility of a critical cooperating witness.
 5           Specifically, the Deputy D.A. prosecuting Baca called another Deputy
 6    D.A. to testify that a defendant in another murder case who had become a
 7    jailhouse informant had not received any benefits for testifying against defendant
 8    Baca. That testimony was false, however, because the jailhouse informant had, in
 9    fact, received a four-year sentence reduction for his testimony against Baca. Both
10    prosecutors thus withheld exculpatory evidence (i.e., the fact that Melendez had
11    received a significant benefit for his testimony against Baca) and conspired to
12    obstruct justice and to commit perjury.
13           The Ninth Circuit Court of Appeals was not amused. While all three judges
14    assigned to the case chastised the Deputy Attorney General for the state’s
15    conduct, the most pointed criticism came from former Chief Judge Alex
16    Kozinski, who inquired as to whether the Deputy D.A. who falsely testified that
17    the informant had not received benefits had been charged with perjury or whether
18    either prosecutor had been disciplined for his misconduct. When the answer to
19    both those questions was “no,” Kozinski commented that “the total silence on this
20    suggests that this is the way it’s done. I mean they got caught this time but
21    they’re going to keep doing it because they have state judges who are willing to
22    look the other way.”21
23    //
24    //
25
26    20
              13-53162. The video of the oral argument can be viewed here: Watch recording for
      Johnny Baca v. Derral Adams, No. 13-56132 (uscourts.gov)..
27    21
              The significance of this comment is hard to overstate. The Chief Judge of the Ninth
      Circuit Court of Appeals, the largest federal appellate court in the United States, stated on the
28    record that the Riverside County District Attorney’s office has a pattern and practice of engaging
      in prosecutorial misconduct.
                                                      8

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 1           Chief Judge Kozinski then invited the Deputy Attorney General to confer
 2    with the Attorney General herself22 to consider voluntarily remanding the case for
 3    a new trial – making it quite clear that if she failed to do so, the court would issue
 4    a scathing opinion that would publicly humiliate both the Riverside D.A.’s Office
 5    and the Attorney General. The A.G. took Kozinski up on his invitation to avoid a
 6    public reprimand and the case did not result in a published opinion.
 7           According to a 2017 Harvard Law School study, Riverside County ranked
 8    fifth in the State of California over a six-year period with respect to judicial
 9    findings of misconduct, with 32 findings and four reversals.23
10
      C.     Former D.A. Zellerbach’s History of Malfeasance in the Interest of
11    Political Gain
12
13           Former D.A. Paul Zellerbach, meanwhile, has a well-documented history
14    of committing both judicial and prosecutorial malfeasance for political advantage.
15           Before being elected D.A. in 2011, Zellerbach had been a Superior Court
16    judge for 11 years. On November 3, 2011, he was publicly admonished by the
17    California Commission on Judicial Performance for violating “around a half-
18    dozen canons in the California Code of Judicial Ethics.”24 Those violations
19    included a March 26, 2009 speech that Zellerbach gave to the Riverside County
20    Deputy District Attorneys Association, where he advised his audience “to hold
21    off on endorsing a candidate in the following year’s D.A. race.” Zellerbach also
22    disparaged the way the office was being run at the time, which “gave the
23    appearance that he was opposing a candidate for nonjudicial office.” Both those
24    actions violated the judicial canon of ethics. Zellerbach also first sought an
25
26
27    22
             The Attorney General at the time is the current Vice President, Kamala Harris.
      23
             Dozens of convictions tossed out of Southern California courts because of prosecutors’
28    bad behavior, Harvard study says – Redlands Daily Facts
      24
             UPDATE: Past Ethics Violations Dog Riverside County DA | Lake Elsinore, CA Patch
                                                   9

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 1   endorsement more than a week before declaring that he was a candidate, which
 2   was another ethical breach.25
 3         In November 2014, Deputy D.A. John Aki and the Riverside County
 4   Deputy District Attorney’s Association sued Zellerbach and the county, alleging
 5   that Zellerbach reassigned Aki to Indio – a four-hour daily commute – “for the
 6   purpose of deliberately imposing hardship and burden on [Aki]” because Aki had
 7   openly supported then-Deputy D.A. Mike Hestrin’s campaign to replace
 8   Zellerbach as the D.A.26
 9         On April 23, 2014, Zellerbach was filmed vandalizing the campaign sign
10   of a political opponent, Michael Hestrin, in Indio. He later pleaded guilty to a
11   misdemeanor and received a public reproval from the state bar.27
12                                              III.
13                                  Jurisdiction and Venue
14         This action arises under 42 U.S.C. §1983. The Court has jurisdiction to
15   issue declaratory and/or injunctive relief pursuant to 28 U.S.C. §§ 2201 & 2202
16   and Federal Rule of Civil Procedure 57.
17         Venue in this Court is proper as the acts and omissions alleged herein
18   occurred in the County of Riverside, which is within the Central District of
19   California.
20   //
21   //
22   //
23
24
25
26
27
     25
           Id.
28   26
           Turmoil in SoCal District Attorney’s Office – Courthouse News Service
     27    Paul Edwin Zellerbach #83086 - Attorney Licensee Search (ca.gov)
                                                 10

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 1                                                IV.
 2                                              Parties
 3   A.    Plaintiff
 4         Plaintiff, Roger Wayne Parker, is a United States Citizen and a resident of
 5   the County of Riverside.
 6   B.    Defendants
 7         Defendant County of Riverside is a chartered public entity, empowered
 8   under the laws of the State of California with the authority to act as the governing
 9   party for the County of Riverside. The individual defendants performed all the
10   alleged acts in the name of the County of Riverside (although beyond the scope
11   of “the traditional functions of an advocate”).28
12         Defendant Paul Zellerbach was the District Attorney for the County of
13   Riverside during the relevant period. Zellerbach is named individually and in his
14   official capacity.
15         Defendant Sean Lafferty is an employee of the County of Riverside
16   (currently a judge of the Superior Court). During the relevant period, he was an
17   employee of the Riverside County D.A.’s Office and an agent of Zellerbach.
18   Laffety is named individually and in his official capacity.
19         Defendant Tricia Fransdal is an employee of the County of Riverside.
20   During the relevant period, she was an employee of the Riverside County D.A.’s
21   Office and an agent of Zellerbach. Fransdal is named individually and in her
22   official capacity.
23         Defendant Jeff Van Wagenen was a supervising Assistant District
24   Attorney, under Zellerbach, for the County of Riverside during the relevant
25   period. Wagenen is named individually and in his official capacity.
26   //
27   //
28
     28
           Genzler v. Longanbach, 410 F.3d 630, 636 (9th Cir. 2005).
                                                   11

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 1                                              V.
                                         Causes of Action
 2                                     First Cause of Action
 3                                       42 U.S.C. § 1983
 4         Malicious Prosecution in Violation of the Fourth and Fourteenth
 5        Amendments, Against the County of Riverside, Paul Zellerbach, Sean
                  Lafferty, Tricia Fransdal, and Jeff Van Wagenen
 6
 7            Plaintiff realleges and incorporates by reference the foregoing statement of
 8   facts and identification of parties.
 9            “In order to prevail on a § 1983 claim of malicious prosecution, a plaintiff
10   ‘must show that the defendants prosecuted [him] with malice and without
11   probable cause, and that they did so for the purpose of denying [him] equal
12   protection or another specific constitutional right.’”29
13            Here, Defendants Zellerbach, Lafferty, Van Wagenen, and Fransdal acted
14   deliberately and in concert to maliciously prosecute Plaintiff, despite the fact that
15   the two trial attorneys assigned to the case (DiMaria and Ross) had been
16   repeatedly telling them that Plaintiff was innocent. This was a violation of
17   Plaintiff’s Fourth Amendment right (as incorporated through the Fourteenth
18   Amendment) not to be prosecuted or incarcerated in the absence of probable
19   cause.
20            Defendant Zellerbach directed his supervisory attorneys to persist in this
21   prosecution of an innocent man for political advantage, which – as an
22   administrative function – is beyond the scope of a D.A.’s traditional function as
23   an advocate.30 Defendants Lafferty, Van Wagenen, and Fransdal carried out
24   Zellerbach’s direction to prosecute Plaintiff while specifically directing trial
25   counsel (Ross) to continue with additional investigation. Lafferty’s, Van
26
27
     29
            Awabdy v. City of Adelanto, 368 F.3d 1062, 1066 (9th Cir. 2004) (alteration in original)
28   (quoting Freeman v. City of Santa Ana, 68 F.3d 1180, 1189 (9th Cir. 1995)).
     30
            See Genzler, 410 F.3d at 636.
                                                   12

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 1   Wagenen’s, and Fransdal’s malicious actions were thus part of the “investigatory
 2   process” (in advance of a probable cause finding), rather than undertaken while
 3   “performing the traditional functions of an advocate.” Accordingly, Defendants
 4   are not entitled to absolute immunity.31
 5          Plaintiff was obviously prejudiced by Defendants’ decision to prosecute
 6   him even though they knew he was innocent. Indeed, he spent four years
 7   wrongfully incarcerated. As a proximate result of Defendants’ actions, Plaintiff
 8   suffered severe emotional distress, as well as economic damages in an amount
 9   according to proof at trial.
10          The Defendants’ decision to prosecute and incarcerate a man they well
11   knew to be innocent was both deliberate and reckless. It accordingly justifies the
12   award of exemplary damages against the Defendants (in an amount according to
13   proof at trial) to deter them from engaging in similar conduct in the future.
14   Plaintiff is also entitled to attorneys’ fees and costs.
15                                   Second Cause of Action
16
                                         42 U.S.C. § 1983
17
18      Violation of Fifth Amendment Right to Due Process and Exculpatory
      Evidence, Against the County of Riverside, Paul Zellerbach, Sean Lafferty,
19                     Tricia Fransdal, and Jeff Van Wagenen
20
            Plaintiff realleges and incorporates by reference the foregoing statement of
21
     facts and identification of parties.
22
     //
23
     //
24
     //
25
26
27   31
             See id.; see also id. at 637 (“The [Supreme] Court denied absolute immunity to
     prosecutors who had fabricated evidence ‘during the early stage of the investigation’ when
28   ‘police officers and assistant prosecutors were performing essentially the same investigatory
     functions.’”) (quoting Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993)).
                                                  13

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 1         The United States Supreme Court held in Brady v. Maryland that a
 2   prosecutor must disclose evidence favorable to the accused, where the evidence is
 3   material to either guilt or punishment.32
 4         Here, Deputy D.A. Ross acquired recorded jail calls in which Petitioner’s
 5   former roommate, Willie Womack, confessed to – and laughed about – the
 6   murder of Brandon Stevenson. Since this was the crime for which Plaintiff was
 7   being held in custody, there can be no doubt that the evidence of another man
 8   confessing to committing this crime was favorable to Petitioner.
 9         Rather than disclosing that evidence to the defense, however, Defendant
10   Lafferty, acting on behalf of the County of Riverside and in concert with
11   Defendants Zellerbach, Van Wagenen, and Fransdal, deliberately withheld that
12   conclusively exculpatory evidence from Petitioner, who did not learn about its
13   existence until October 2020. This was a violation of Plaintiff’s Fifth Amendment
14   right to due process (as incorporated through the Fourteenth Amendment).
15         Because Defendants’ decision to withhold the exculpatory jail calls took
16   place before a judicial finding of probable cause, the decision was part of the
17   investigatory process and not within the ambit of the traditional functions of an
18   advocate. Defendants accordingly are not entitled to absolute immunity.33
19         Plaintiff was prejudiced by Defendants’ decision to withhold the jail calls
20   that constituted overwhelming proof of his innocence. He languished at least an
21   additional six months behind bars (from September 2013 to March 6, 2014) and
22   did not learn about the exculpatory jail calls until October 2020. As a proximate
23   result of Defendants’ actions, Plaintiff suffered severe emotional distress, as well
24   as economic damages in an amount according to proof at trial.
25         The Defendants’ decision to withhold exculpatory evidence from a
26   criminal defendant they knew to be innocent was both deliberate and reckless. It
27
28   32
           373 U.S. 83, 87 (1963).
     33
           Genzler, 410 F.3d at 636.
                                                 14

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 1   accordingly justifies the award of exemplary damages against the Defendants (in
 2   an amount according to proof at trial) to deter them from engaging in similar
 3   conduct in the future. Plaintiff is also entitled to attorneys’ fees and costs.
 4                                     Third Cause of Action
 5
                                  42 U.S.C § 1983 (Monell Claim)
 6
 7   Unconstitutional Official Policy, Practice, or Custom, Against the County of
                                       Riverside
 8
 9          Plaintiff realleges and incorporates by reference the foregoing statement of
10   facts and identification of parties.
11          The County permitted, acquiesced to, and/or ratified the unlawful custom,
12   pattern, and practice of maliciously prosecuting innocent defendants in violation
13   of the Fourth and Fourteenth Amendments, coercing false confessions in
14   violation of the Fifth, Sixth, and Fourteenth Amendments, and withholding
15   exculpatory evidence from defendants, in violation of the Fifth and Fourteenth
16   Amendments.
17          The County facilitated this unlawful custom and practice by encouraging
18   police officers to obtain coerced confessions and by intimidating and punishing
19   lower-level prosecutors, who were forced to elect between fulfilling their
20   constitutional and ethical obligations (i.e., not prosecuting innocent people and
21   turning over exculpatory evidence to the defense) and keeping their jobs.
22          In maintaining this unlawful practice, the County acted for the purpose of
23   political advantage. Its actions were thus administrative and investigative and not
24   within the traditional functions of an advocate.
25          Plaintiff spent four years wrongfully incarcerated as a proximate result of
26   the County’s actions and inactions. He is accordingly entitled to compensation for
27   past and future damages, including severe emotional distress, in an amount to be
28   proven at trial.

                                                    15

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 1         The Defendants also acted deliberately or in reckless disregard of
 2   Plaintiff’s constitutional rights, which warrants exemplary damages in an amount
 3   according to proof at trial. Plaintiff is also entitled to attorneys’ fees and costs.
 4                                  Fourth Cause of Action
 5
                                       Declaratory Relief
 6
 7         Plaintiff realleges and incorporates by reference the foregoing statement of
 8   facts and identification of parties.
 9         This Court enjoys the discretion to grant declaratory relief “in the interests
10   of preventive justice.”34 That is, “to declare rights rather than execute them.”35
11   “In giving declaratory relief[,] a court has the powers of a court of equity.”36
12         As set forth above, the County of Riverside District Attorney’s Office has
13   – for years – engaged in a pattern of prosecutorial misconduct, including: 1)
14   maliciously prosecuting innocent defendants in the interest of political
15   expediency; 2) withholding exculpatory evidence from criminal defendants; and
16   3) encouraging police officers to obtain coerced confessions. This pattern is so
17   widespread and egregious that the former Chief Judge of the Ninth Circuit Court
18   of Appeals commented on it on the record.
19         Plaintiff requests that this Court fashion an appropriate injunction to
20   permanently enjoin the D.A.’s Office from engaging in these practices.
21                                  Demand for Jury Trial
22
23         Plaintiff hereby respectfully requests and demands a trial by jury on all

24   causes of action and issues for which a trial by jury is available under the law.

25   //

26   //

27
     34
           Travers v. Louden, 254 Cal. App. 2d 926, 931 (1967).
28   35
           Id.
     36
           Los Angeles v. Glendale, 23 Cal. 2d 68, 81 (1943).
                                                 16

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 1                                      Prayer for Relief
 2
           Plaintiff prays for judgment against Defendants as follows:
 3
           1.      As to the first and second causes of action, compensatory damages,
 4
     including all special/economic damages and all general/non-economic damages
 5
     incurred as caused by the Defendants according to proof;
 6
                a. guaranteeing the commitment of the County to provide sufficient
 7
                   resources to ensure implementation of these reforms; and
 8
                b. reporting compliance with these reforms for a period of five years.
 9
           2.      For attorneys’ fees pursuant to 42 U.S.C. §1983 and §1988;
10
           3.      Interest according to the highest rate provided by law;
11
           4.      For costs of suit incurred; and
12
           5.      For such other and further relief as this Court may deem just and
13
     proper.
14
                                               Respectfully Submitted
15
16
17
     Dated: July 29, 2021                      /s/ Gerald B. Singleton
18
                                               Gerald B. Singleton
19
20                                             Attorney for Plaintiff
                                               Roger Wayne Parker
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